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 Exhibit B

 People Of The State Of Colorado Vs. Lewis, Damien Lenton - 2017CR6154 - El Paso County

                          Minute Order (print)
                          Prudek/cjp/crt Reporter Jessica Reedy Div 14 S503 Dda Libby H35b
                          1/26/2022
                          Dpwc In Cust; Pd Gurney; Prv Atty Loew; Dda Rpts Reconsideration
                          Was Allowed
                          Based On The Outcome Of Federal Case, Federal Case Has
  2022-01-                Consecutive
              MINC
  26                      Requirements; Dda In Agreement W/ Pds Calculation Of Time; Def
                          Provides
                          Completion Of Doc Classes To Crt; Crt Does Not Have Authority For
                          An Open 35b
                          Hrg; Crt Modifies Doc Senh In 16cr6218 And 17cr6154 To 19yrs And
                          2mos Doc,
                          Nunc Pro Tunc To 1/23/19; Crts Is Not Changed On Mitt; Cust /cjp
                          Amended Mittimus Issued
  2022-01-
              MITA        Day Due: 000000000000000
  26
                          DEF1/ Lewis, Damien Lenton
  2022-01-
              POST        Closed After Post Judgment
  26


  2019-01-
              CLAD        Case Closed
  23
                          Minute Order (print)
                          Prudek/nmt/ftr Div 14 S305 1/23/19 Dda Eden Plea
                          Dpwc Atty Loew; Plea Ppwork Tendered To Crt; Def Enters Guilty
                          Plea To Ct 1
                          2nd Deg Burglary F3; Parties Stip To 22.5 Years Doc To Run
                          Concurrent To
                          Other Cases; Def Advised; Potential Penalties 4-12 Yrs Doc;
  2019-01-                Aggravted 24 Yrs
              MINC
  23                      Doc; Mandatory Parole 3 Years; Parties Stip To Factual Basis; Crt
                          Accepts
                          Guilty Plea As Know/intel/vol Entered; Crt Adopts Agreement And
                          Sentences Def
                          To 22.5 Years Doc; Mandatory 3 Years Parole; 386 Days Crts;
                          Concurrent To
                          15cr414 16cr6218 18cr254; Restitution Reserved 91 Days With 35
                          Days To
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                    Object; 35b Allowed For Up To Years; Parties Intend Sentence To Run
                    Concurrent To Federal Sentence; Cust /nmt
